Case 1:17-cv-00038-WES-PAS Document 129 Filed 02/15/19 Page 1 of 5 PageID #: 2145



                              UNITED STATES DISTRICT COURT
                                          for the
                                DISTRICT OF RHODE ISLAND

  __________________________________________
                                            )
  NATIONAL LIABILITY & FIRE INSURANCE )
  CO. and BOAT OWNERS ASSOCIATION OF        )
  OF THE UNITED STATES                      )                  Civil Action:
        Plaintiffs                          )                  No: 17-cv-0038-S-PAS
                                            )
  v.                                        )                  In Admiralty
                                            )
  NATHAN CARMAN                             )
        Defendant.                          )
  __________________________________________)

               DEFENDANT’S OBJECTION PURSUANT TO F.R.Civ.P. 72(a) TO:

       MAGISTRATE JUDGE SULLIVAN’S MEMORANDUM AND ORDER DATED
                            FEBRUAR 1, 2019


         Now comes the Defendant, Nathan Carman, and pursuant to F.R.Civ.P. 72(a) objects to

  Judge Sullivan’s Memorandum and Order entered on February 1, 2019 [Doc. # 126] and in

  particular the Defendant objects to several of the Court’s factual findings upon which this Order

  was based. As grounds thereof the Defendant asserts that these factual findings were clearly

  erroneous.

  I.     Introduction

         As of the date of this Objection Defendant has produced the document called for by the

  Order. This Objection is being filed to preserve Defendant’s objections to several erroneous

  factual findings so as to avoid waiver pursuant to F.R.Civ.P. 72(a).




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Case 1:17-cv-00038-WES-PAS Document 129 Filed 02/15/19 Page 2 of 5 PageID #: 2146




  II.    Erroneous Factual Findings

         a.      In the middle of the second paragraph on Page 2 of the February 1, 2019

  Memorandum and Order the Court found:

         “Further the Court finds that during the session of the Defendant’s deposition held on
         October 29, 2018, Plaintiffs’ attempt to depose Defendant was obstructed by
         inappropriate colloquy, increasing the need to obtain discovery of the requested
         testimony and statements. Accordingly, the Court Orders …..” [Doc. #126, P. 2]
  The Defendant asserts that this finding is not supported by the record and clearly erroneous. The

  October 29, 2018 deposition of the Plaintiff was taken pursuant to an Order issued by the Court

  on September 19th 2018 which explicitly limited the scope of this third deposition of the

  Defendant in this case to “relate[d] to the newly procured information derived from the New

  Hampshire firearm store where it is claimed Defendant purchased a weapon”. On multiple

  occasions during the deposition when the questioning exceeded the explicitly limited scope of

  this deposition, counsel for the Defendant stated his objection, stated the basis of his objection

  and pursuant to F.R.Civ.P. 30(c)(2) properly instructed Mr. Carman not to Answer. When asked

  questions about a firearm specifically identified within the Connecticut Assault Weapon Ban law

  Defendant properly raised a privilege. These objections, claims of privilege, statements of the

  basis and refusals to Answer were proper, supported by the law and should not form the basis of

  the Court’s finding of obstruction on the part of Defendant.

         Defendant concedes that during the deposition there was inappropriate colloquy between

  counsel for the parties relating to an intentionally false statement of objective fact made by

  counsel for the Plaintiff, David Farrell, to the Court within its recently Plaintiff’s Reply Brief,

  specifically counsel for the Defendant’s representation to the Court that “Plaintiffs never saw the



                                                    2
Case 1:17-cv-00038-WES-PAS Document 129 Filed 02/15/19 Page 3 of 5 PageID #: 2147



  [Ct. State Police] forensic report or knew its contents before it was efiled on October 4, 2018”

  Plaintiff’s Reply Brief, Page 4 of 12 [Doc. #87]. See, Depo of Carmen, Vol. III, pages 27-35

  [Doc. 115-1] (colloquy regarding Plaintiff’s counsel’s false statement to court). Subsequent

  filings have pretty clearly established that Plaintiff’s counsel’s statement in his Reply Brief was

  in fact objectively false 1. See, Def. Opp. to 5th Mot. to Compel, Pages 3-4 [Doc. 102]; Pl’s

  Reply Brief re: 5th Motion to Compel, Page 2 [Doc. #103]. Counsel for both parties participated

  equally in this colloquy, this colloquy did not limit Plaintiff from acquiring information during

  the deposition and should not be the basis of a finding of obstruction.

          b.       In the first sentence of the second paragraph on page 3 of the February 1, 2019

  Memorandum and Order the Court found:

          “Throughout the travel of this case, Plaintiffs have articulated their theory that the
          sinking of the insured vessel was caused by Defendant’s fraudulent conduct as part of a
          unified scheme that began with the Defendant’s alleged acquisition of a certain firearm
          in 2013” [Doc. #126, P. 3]
          These is simply no support in the record for this finding. In their discovery motions

  Plaintiffs made arguments similar to these, however these were not claims or assertions made by

  the Plaintiff’s within their pleadings, within their answers to written discovery and in 30(b)(6)

  testimony of the Plaintiff’s. See, Def Memorandum in Opp. to Pl’s Mot. to Compel [Doc. 50-1].

          c.       In the last sentence on page 4 of the February 1, 2019 Memorandum and Order

  the Court stated:

          “The Court sua sponte reopened discovery, making clear in the Order this it was based
          on the Defendant’s argument that he needed more discovery, making clear in the Order
          this it was based on Defendant’s argument that he need more discovery to rebut
          Plaintiff’s’ expansive theory of the scheme” [Doc. #126, P. 4]

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   Although clearly documented in the pleadings, the Court has never addressed this objectively false statement by
  counsel for the Defendant nor has the Plaintiff’s withdrawn this false statement from their brief.

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Case 1:17-cv-00038-WES-PAS Document 129 Filed 02/15/19 Page 4 of 5 PageID #: 2148



  Defendant objects to this statement because while this may have been the Courts intent in

  drafting its Text Order of October 23, 2018, it certainly was not clear. The 10/23 Text Order

  only addressed Plaintiff’s Motion which only requested that Plaintiff be allowed to conduct

  additional discovery. This interpretation of the Court’s 10/23 Text Order is inconsistent with

  statements made by the Court at the conclusion of the September 18, 2018 hearing relating to a

  reopening of discovery. Transcript of 9/18/18 Hearing, Pages 36-38 [Doc. 91].

            d.     In middle of page 5 of the February 1, 2019 Memorandum and Order the Court

  stated:

            “And with no need for new discovery thee is not a whisper of a dilatory motive or
            prejudice arising from the amendment” [Doc. #126, P. 5]
  The Defendant objects to this statement because it is not supported by the record in this case and

  the Defendant needs to conduct discovery on the four pages of new factual allegations asserted in

  the Plaintiff’s proposed amendment.



            WHEREFORE, the Defendant respectfully requests that this Honorable Court vacate the

  Memorandum and Order entered on February 1, 2019 [Doc. # 126] or in the alternative vacate

  the findings and statements identified in paragraphs a through d above.

                                                        Respectfully Submitted

                                                        On behalf of the Defendant,
                                                        Nathan Carman


                                                        /s/ David F. Anderson
                                                        David F. Anderson
                                                        Latti & Anderson LLP
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  Dated: February 15, 2019                              DAnderson@LattiAnderson.com

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Case 1:17-cv-00038-WES-PAS Document 129 Filed 02/15/19 Page 5 of 5 PageID #: 2149



                           CERTIFICATE OF ELECTRONIC SERVICE

         I hereby certify that on the above date, I electronically filed the above pleading with the
  Clerk of the Court using CM/ECF system which will send notification of such filing(s) to all
  counsel of record for all parties.


                                                        /s/David F. Anderson
                                                        David F. Anderson




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